Case 23-01092-MBK           Doc     Filed 04/13/23 Entered 04/13/23 18:03:23            Desc         Page
                                                1 of 2


 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Janet A. Shapiro, Esq.
 The Shapiro Law Firm
 325 N. Maple Drive, #15186
 Beverly Hills, CA 90209
 Tele: 323.852.0333
 Email: jshapiro@shapirolawfirm.com                    Case No.:    23-12825 (MBK)
                                                       Chapter:     11
 Counsel to Employers Insurance Company of
 Wausau; and National Casualty Company
                                                       Judge:        Michael B. Kaplan


 In Re:
                                                       [No Hearing Required]
 LTL Management, LLC,

                                  Debtor.




                                    NOTICE OF APPEARANCE



          PLEASE TAKE NOTICE that Janet A. Shapiro of The Shapiro Law Firm (“Shapiro”),

appears as attorney for Employers Insurance Company of Wausau and National Casualty

Company, interested parties in the above-captioned bankruptcy proceeding.

          Pursuant to § 1109(b) of Title 11 of the United States Code and Rules 2002, 9007 and 9010

of the Federal Rules of Bankruptcy Procedure, Ms. Shapiro requests that all notices given or

required to be given in this case, and all papers served or required to be served in this case, be

served upon her and that she be added to the mailing matrix on file with the Clerk of the

Bankruptcy Court as follows:

                                Janet A. Shapiro
                                The Shapiro Law Firm
                                325 N. Maple Drive, #15186
                                Beverly Hills, CA 90209

          Please take notice that neither this Notice of Appearance and Request for Notices, nor any
                                                   1
Case 23-01092-MBK          Doc     Filed 04/13/23 Entered 04/13/23 18:03:23              Desc     Page
                                               2 of 2



later appearance, pleading, proof of claim, claim or suit shall constitute a waiver of (1) the right to

have final orders in non-core matters entered only after de novo review by a District Judge; (2) the

right to trial by jury in any proceeding related to this case or any related case or controversy; (3) the

right to have the District Court withdraw the reference in any matter subject to mandatory or

discretionary withdrawal; (4) any objection to the jurisdiction of this Bankruptcy Court for any

purpose other than with respect to this notice; (5) an election of remedy; or (6) any other rights,

claims, actions, defenses, setoffs or recoupments as appropriate, in law or equity, under any

agreements, all of which are expressly reserved.


          Date: April 13, 2023                         /s/ Janet A. Shapiro
                                                       The Shapiro Law Firm
                                                       325 N. Maple Drive, #15186
                                                       Beverly Hills, CA 90209
                                                       Tele: 323.852.0333
                                                       Email: jshapiro@shapirolawfirm.com




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